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Exhibit L

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LAW
GROUP

A Professional Corporation

Attorneys

Jeffrey A. Cohen

Michael §. Hanna

Of Counset
|. Brie Kirkland
Bennet G. Kelley

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Los Angeles Gffice

10996 Wilshire Bivd., Suite 1025
Los Angeles, CA 90024
Telephone: (310) 469-9600
Facsimile: (310) 469-9610

South bay Office

2321 Rosecrans Ave., Suite 3225
El Segundo, CA 91423
Telephone: (310) 906-1900
Facsimile: (310) 906-1902

July 20, 2018
James A. Gregorio, Esq.
Gregorio PLLC

301 S. Elm St., Ste 507
Greensboro, NC 27401,

Via Email and U.S, Mail
James@gregorioplilc.com

Re: Dawn Dorland Copyright Claim

Our Client: Dawn Dorland

Our File No.: | 7277.001

Copyrighted Work: “Dorland Kidney chain final recipient letter July 2,
2015” by Dawn Dorland

Infringing Content: Portions of “The Kindest” by Sonya Larson

Dear Mr. Gregorio: |

This office is counsel for Dawn Dorland with respect to thei issues address herein. We are in receipt
of your letter dated July 17, 2018, and this correspondence i is a response to that letter.

Pursuant to your request, please find enclosed herewith: a redacted copy of our + client's work
“Dorland Kidney chain final recipient letter July 2, 201 5” (“Work”), U.S. Copyright application
number 1-665447341 1, While we believe that your client is already in possession of an unredacted

copy, please let us know if that would be of assistance to your analysis and we can discuss
providing an unredacted copy. .

Given your request for a copy of the Work, it appears that the positions expressed in your letter
were taken without ever having reviewed the Work, Now that you are in possession of the Work,
we are certain that you will agree that it is not only possible that your client copied the Work, but
that it would be impossible for your client to have independently created her version of the Work
that is included in the short story “The Kindest,” without having copied the Work.

As you can see, certain portions of “The Kindest” are included almost verbatim from the Work,
and the entire letter portion of “The Kindest” is indisputably adapted directly from the Work. There

~ can be no reasonable dispute in this regard that your client is has infringed upon our client’s

copyright in the Work under 17 U.S.C. § 501(a), including our client’s exclusive rights under 17

TRANSACTIONS AND LITIGATION
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James Gregorio
July 20, 2018
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American Short Fiction, Audible. com, and the Boston Book Festival, ian PY publicly displaying

the Work, respectively.

Given the obvious and substantial similarities | between the relevant portions of “The Kindest” and
. the. Work, we intend to.assert all available tights and remedies that our client ray have, unless we
are able to come to a mutually: agreeable solution. with all: parties involved, ‘including your client.
Our client’s: position in this matter, at least to this point; has: ‘been’ extraordinarily. conciliatory.
Frankly, despite the tone of your. letter and. the failure. fo include: any. law: ‘or facts upon which your
_ positions are based (including -y your ‘threat to seek Rule 11 sanctions), our client remains willing to
settle this matter without a full Tecovery of the damages to which she may be entitled, However,
. this willingness could change should your olient continue to > make baseless threats or take any
action to interfere with o our ‘elient’s Tights... .

: We a ‘are ‘in: 1 discussions with Boston Book Festival BBF*) conceming. ‘settlement of our claims
against them. BBF has advised that they are reluctant to publish “The Kindest” until the claims -
between your client and our client are settled. If BBF has contacted you for authority to include an
appropriate attribution or for any other: ‘authority: to allow them ta proceed with a settlement, we
would suggest that’ you take them: seriously. It appears t that your failure to reach an agreement with
our client would not bei in your, client's best hitterest, ye

To the extent that your it client j is 5 viilling tc tor recognize the rights. ‘ofour. client and to the extent that
she is interested in exploring the settlement. of the potential claims ‘against your. client at this time,
we would be willing to entertain such. discussions, ‘as-we do. wish to achieve a solution for al!
-involved in a timely:manner. Accordingly, please contact this office to discuss this matter further,
as time is of the essence forall: involved. Otherwise, please ) interfering with our efforts to
: prevent th the further violation ofo our. “client's Nights. “

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ce: Paul Senrot, Bq. via. email at 3t paul@sennotwilliams.c com -
MSH/nk

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GROUP

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Attorneys Los Angeles Office
jelfrey A. Cohen 10990 Wilshire Bivd,, Suite 1025
Michael S. Hanna Los Angeles, CA 90024

Telephone: (310) 469-9606
Of Counsel Facsimile: (340) 469-9410
). Eric Kirkland

Bennet G. Kelley South bay Office

2321 Rosecrans Ave, Sulte 3225
Et Segundo, CA 91423
Telephone: (310) 906-1900
Facsimile: {310} 906-1901

September 6, 2018

James A. Gregorio, Esq. Via Email and U.S. Mail

Gregorio PLLC james@gregorioplle.com
301 S. Elm &t., Ste 507

Greensboro, NC 274061

FRE 408 & California Evidence Code Section 1152 & 1154

Re: Dawn Dorland Final Settlement Demand and Reservation of Rights
Our Client: Dawn Dorland
Our File No.: 7277001
Copyrighted Werk: “Dorland Kidney chain final recipient letter July 2, 2015”
by Dawn Dorland (The “Work”)
Infringing Content: Portions of “The Kindest” by Sonya Larson

Dear Mr. Gregorio:

As you are aware, this office is counsel for Dawn Dorland with respect to the issues addressed
herein as well as in our July 20, 2018 correspondence to you.

It has come to our attention that your client continues to engage in conduct violative of the rights
of our client, While the Boston Book Festival has apparently agreed with our position as fo your
client’s infringement, we are aware of further and additional conduct by your client that we believe
has infringed and continues to infringe upon the rights of our client. The purpose of this letter is to
demand that your client CEASE AND DESIST of and from all further infringement of the rights
of our client, copyright and otherwise.

Specifically, our client has discovered claims which include but are not limited to claims under 17
U.S.C, §§ 106(1), 106(2), 106(3), and 106(5), respectively, for:

* reproducing the Copyrighted Work (“Work”) in “The Kindest”;
* preparing a derivative work in “The Kindest” based upon the Work; .
¢ distributing copies of the Work to AmericanShortFiction.org, Audible.com (in the United

States, United Kingdom, and Australia), BrillianceAudio.com, and the Boston Book
Festival; and .

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* publicly displaying the Work on the aforementioned websites.

While the Boston Book Festival has decided not to publish “The Kindest”, by no means does this
address the infringement by your client that has occurred up to this point in time, nor the damages

inflicted as a result of her actions, including attorney's fees and costs incurred in the enforcement
and protection of our client’s rights.

We have attempted to resolve this matter with your client through your office by requesting that
your client agree, at least informally, to cease and desist of and from further violations, and thus
far, your client has refused to acknowledge the rights of our client or admit what everyone else
seems to agree upon, that the actions of your client have already infringed the rights of our client.
There has been no explanation for the refusal to acknowledge these rights or the wrongdoing of

your client except ambiguous, wholly inapplicable assertions of “fair use”; unfortunately, this
leaves us in a difficult position.

At this time, we require that your client acknowledge the rights of our client, in writing, and we
require that your client formally agree to cease and desist of and from further violations.
Additionally, we need to resolve the matter of significant attorney’s fees and costs incurred as the
direct result of your client’s actions. The failure fo take these matters seriously and to resolve this
matter informally at this time may result in the formal assertion of such rights against your client.

Specifically, to the extent that your client is unwilling to voluntarily agree to cease and desist from
further violation of our client’s rights, we intend to take action to require her compliance. Should
that be necessary, we will be asserting a full litany of claims against your client and seek all
available damages, including attorney’s fees and costs. Furthermore, given the nature of the

infringement, we intend to address these claims in the Central District of California located in Los
Angeles, California.

We have attempted to come to a mutually agreeable solution with you about these past claims, and
despite not yet obtaining a resolution of these claims, we remain willing to discuss settling these
claims once and for all. However, given the time and resources we have expended to-date on this

matter, we now shall be seeking a full recovery of the damages to which our client may be entitled,
in addition to satisfaction of claims that can be pursued in a court of law.

Such an endeavor will most certainly cause both of our clients to devote substantial resources
including time and energy to these claims. There is virtually no likelihood that your client will

prevail, as your client’s inffingement is undeniable. In order to avoid this path, our client
demands the following:

1) Your client will execute a stipulated judgment in the amount of $180,000 to be held and
not filed unless and until your client violates the further terms of a written settlement
agreement,

2) That your client agrees to cease and desist of and from any further violation of our client’s
copyrights with respect to the Work, or anything derivative thereof in “The Kindest”, or
any other publication.

3) Your client agrees to reimburse actual legal expenses incurred of $15,000.00
commensurate with execution of the settlement agreement.

4) Other terms typical of an agreement of this type.

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Should your client continue to stonewall further discussions along these lines, she will not be
pleased with the result. Should we not hear from you within ten (10) days of the date of this letter,
this demand shall automatically expire without further notice and shall not be renewed.

The foregoing is not intended to be a full litany of all rights that our client may have. Nothing
contained herein, or not expressly included, shall be taken as a waiver of any other rights that our
client may have, and all such rights are expressly reserved. Our client is truly hopeful that your

client takes the reasonable path here, but please understand that the present circumstances will
simply not be tolerated any further.

Very truly yours,

COHEN BUSINESS LAW GROUP

A Professional Corporation
“table.

MICHAEL S. HANNA

MSH/nk

L-Gregorio 20180808,5

